Case 2:22-bk-10266-BB     Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21                 Desc
                           Main Document    Page 1 of 42


  1   JOHN-PATRICK M. FRITZ (State Bar No. 245240)
      LEVENE, NEALE, BENDER,
  2   YOO & GOLUBCHIK L.L.P.
  3   2818 La Cienega Avenue
      Los Angeles, California 90034
  4   Telephone: (310) 229-1234
      Facsimile: (310) 229-1244
  5   Email: JPF@LNBYG.COM
  6   Attorneys for Chapter 11
  7   Debtor and Debtor in Possession

  8
                             UNITED STATES BANKRUPTCY COURT
  9                           CENTRAL DISTRICT OF CALIFORNIA
                                   LOS ANGELES DIVISION
 10
      In re:                                           )   Case No.: 2:22-bk-10266-BB
 11                                                    )
      ESCADA AMERICA LLC,                              )   Chapter 11 Case
 12                                                    )   Subchapter V
                Debtor and Debtor in Possession.       )
 13                                                        MOTION     FOR      ORDER:    (I)
                                                       )
                                                       )   AUTHORIZING     USE   OF   CASH
 14                                                        COLLATERAL      PURSUANT     TO
                                                       )   SECTION 363 OF THE BANKRUPTCY
 15                                                    )   CODE;   AND    (II)   APPROVING
                                                       )   ADEQUATE            PROTECTION;
 16                                                    )   MEMORANDUM OF POINTS AND
                                                       )   AUTHORITIES; DECLARATION OF
 17                                                        KEVIN WALSH IN SUPPORT
                                                       )
 18                                                    )
                                                       )   Hearing:
 19                                                    )   Date: April 6, 2022
                                                       )   Time: 10:00 a.m.
 20                                                    )   Place: Courtroom 1539
                                                       )          255 East Temple Street
 21
                                                       )          Los Angeles, CA 90012
 22                                                    )
                                                       )   Hearing to be held in-person and by video-
 23                                                    )   conference Government Zoom, see Court’s
                                                       )   website under “Telephonic Instructions” for
 24                                                    )   more details:
 25                                                    )   https://www.cacb.uscourts.gov/judges/honor
                                                       )   able-sheri-bluebond
 26                                                    )
                                                       )
 27                                                    )
 28


                                                   1
Case 2:22-bk-10266-BB                Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21                                          Desc
                                      Main Document    Page 2 of 42


  1                                                     TABLE OF CONTENTS

  2   SUMMARY ..............................................................................................................................2

  3   ADDITIONAL INFORMATION ...........................................................................................7

  4   MEMORANDUM OF POINTS AND AUTHORITIES.......................................................9

  5             I. STATEMENT OF FACTS .....................................................................................9

  6                        A. General Background ...................................................................................9

  7                        B. The Budget, Cash Collateral, Secured Creditors, and
  8                           Adequate Protection ...................................................................................9
                II.      COMPLIANCE WITH FRBP 4001(c) & LBR 4001-2..................................14
  9
                III. DISCUSSION ......................................................................................................15
 10

 11                        A. The Debtor Must Be Authorized to Use Cash Collateral to
                              Operate, Maintain and Preserve the Property and Estate in
 12                           Accordance with the Budget ....................................................................15
 13
                           B. Secured Creditors Consent and Adequate Protection ..........................17
 14
                           C. Compliance with Rule 4001 of the Federal Rules of Bankruptcy
 15                           Procedure and Local Bankruptcy Rule 4001-2....................................... 19
 16                        D. Waiver of Any Applicable Stay is Appropriate ........................................ 19
 17               IV. CONCLUSION ..................................................................................................20
 18
      DECLARATION OF KEVIN WALSH ...............................................................................22
 19

 20

 21

 22

 23

 24

 25

 26

 27

 28


                                                                           i
Case 2:22-bk-10266-BB                Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21                                            Desc
                                      Main Document    Page 3 of 42


  1
                                                      TABLE OF AUTHORITIES
  2
                                                                                                                                        Page(s)
  3

  4   Federal Cases

  5   In re Dynaco Corporation,
          162 B.R. 389 (Bankr.D.N.H.1993) ....................................................................................16, 18
  6
      In re Immenhausen Corp.,
  7       164 B.R. 347 (Bankr.M.D.Fla.1994) .......................................................................................18
  8   In re McCombs Properties VI, Ltd.,
  9       88 B.R. 261 ........................................................................................................................17, 18

 10   In re Mellor,
          734 F.2d 1396 (9th Cir.1984) ..................................................................................................17
 11
      In re Newark Airport/Hotel Ltd. Partnership,
 12       156 B.R. 444 (Bankr.D.N.J.1993) ...........................................................................................18
 13   In re O’Connor,
          808 F.2d 1393 (10th Cir.1987) ..........................................................................................17, 18
 14

 15   In re Oak Glen R-Vee,
          8 B.R. 213 (Bankr.C.D.Cal.1981) ............................................................................................16
 16
      Matter of Pursuit Athletic Footwear, Inc.,
 17      193 B.R. 713 (Bankr.D.Del.1996) ...........................................................................................18
 18   In re Stein,
          19 B.R. 458. (Bankr.E.D.Pa.1982) ..........................................................................................17
 19
      In re Triplett,
 20
          87 B.R. 25 (Bankr.W.D.Tex.1988) ..........................................................................................17
 21
      In re Tucson Industrial Partners,
 22       129 B.R. 614 (9th Cir.B.A.P.1991)..........................................................................................16

 23   United Savings Association v. Timbers of Inwood Forest Associates,
         108 S.Ct. 626 (1988) ................................................................................................................17
 24

 25

 26

 27

 28


                                                                           ii
Case 2:22-bk-10266-BB                 Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21                                               Desc
                                       Main Document    Page 4 of 42


  1   Federal Statutes
  2   11 U.S.C.
         § 361,......................................................................................................................................2, 7
  3
         § 363...........................................................................................................................2, 7, 16, 17
  4      § 506...................................................................................................................................15, 28
         § 544...................................................................................................................................15, 28
  5      § 545,..................................................................................................................................15, 28
         § 547...................................................................................................................................15, 28
  6      § 548...................................................................................................................................15, 28
         § 549...................................................................................................................................15, 28
  7
         § 1107(a) ..................................................................................................................................16
  8
      28 U.S.C.
  9      § 157.........................................................................................................................................15
         § 1334.......................................................................................................................................15
 10      § 1408.......................................................................................................................................15
 11      § 1409.......................................................................................................................................15

 12   CARES Act ..........................................................................................................................4, 11, 24

 13   Other State Statutes

 14   UCC 9-204(a) and 9-315(a) ...........................................................................................................19
 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28


                                                                             iii
Case 2:22-bk-10266-BB        Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21               Desc
                              Main Document    Page 5 of 42


  1                                              SUMMARY

  2             Pursuant to Rules 4001-2 and 9013-1 of the Local Bankruptcy Rules of the United States

  3   Bankruptcy Court for the Central District of California (the “Local Rules”), 11 U.S.C. §§ 361,

  4   and 363(c), and Rules 4001 and 9014 of the Federal Rules of Bankruptcy Procedure (the
  5   “Bankruptcy Rules”), Escada America LLC, a Delaware limited liability company (the
  6   “Debtor”), the debtor and debtor in possession in the above-captioned, chapter 11 bankruptcy
  7   case, respectfully submits its “Motion for Order: (I) Authorizing Use of Cash Collateral Pursuant
  8   to Section 363 of the Bankruptcy Code; and (II) Approving Adequate Protection” (the
  9   “Motion”), to be heard on regular notice, and respectfully requesting entry of an order (i)
 10   authorizing the Debtor to use cash collateral on a final basis through July 15, 2022, in accordance
 11   with the Debtor’s operating budget (the “Budget”), a copy of which is attached as Exhibit “1” to
 12   the annexed declaration of Kevin Walsh (“Declaration”) submitted concurrently herewith; and
 13   (ii) approving adequate protection to secured creditors. The relief requested in this Motion is
 14   based on this Motion, the memorandum of points and authorities and Declaration of Kevin
 15   Walsh annexed to the Motion, and previously filed declaration of John-Patrick M. Fritz, Esq. (the
 16   “Fritz Declaration”) [ECF 15].
 17             The Debtor commenced its bankruptcy case by filing a voluntary petition under chapter
 18   11 of the Bankruptcy Code on January 18, 2022, (the “Petition Date”). The Debtor continues to
 19   manage its financial affairs, operate its business, and administer its bankruptcy estate as a debtor
 20   in possession.
 21             The Debtor was formed as a Delaware limited liability company in 2009. The Debtor is a
 22   national specialty retailer selling high-end, ready-to-wear women’s apparel with its main office
 23   in Beverly Hills, California, an office New York City, New York, and, as of the Petition Date,
 24   ten (10) retail stores across seven (7) states in the United States, and over 50 fulltime employees.
 25   As part of its first-day motions, the Debtor rejected five (5) leases, and is now operating at five
 26   leased locations with approximately 4 employees in its corporate office and 29 employees in
 27   stores.
 28


                                                       2
Case 2:22-bk-10266-BB      Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21              Desc
                            Main Document    Page 6 of 42


  1          The Debtor’s retail business is generally known to the public and branded as “Escada.”

  2   The Debtor uses the “Escada” brand via a license agreement and does not own any intellectual

  3   property rights in connection with the “Escada” brand. For several decades, Escada had been a

  4   global retail brand for high-fashion, high-end, ready-to-wear apparel for women, with an

  5   emphasis on high-fashion evening wear. On a global scale, Escada has various retail stores and

  6   subsidiaries in several countries in Europe, including but not limited to Spain, England and

  7   Germany. Escada also has retail stores in North America, including the Debtor, which operates

  8   Escada’s brick-and-mortar retail business only in the United States.

  9          By 2019, the Escada business on a global scale was in deep distress and could not

 10   continue. At that time, the Debtor, together with other subsidiaries of Escada’s then-parent

 11   company, was acquired by new ownership (which is now the current ownership and

 12   management). At the time of the acquisition of Debtor in 2019, Escada had 29 subsidiaries in 22

 13   countries, all of which were financially distressed. In December 2019, the Debtor devised and

 14   began implementation of a plan to turn around the United States Escada retail business. Debtor

 15   believed that the business could be operated at a profit if fundamental business-model changes

 16   were implemented, such as overhauling the Debtor’s technological suite and reducing speed to

 17   market by shifting supply chains from Asia to Europe. Debtor’s turnaround plan was also

 18   contingent upon Debtor’s ability to sell product at Debtor’s physical locations because

 19   ecommerce sales were minimal. However, what was not – and could not be – known at the time

 20   of the acquisition in November 2019, was that an unprecedented, global, catastrophic, and life-

 21   changing event with severe economic consequences was on the immediate horizon – the Covid-

 22   19 pandemic.

 23          In December 2019, just one month after the acquisition and just as the Debtor’s

 24   transformation plan was being put into effect, the novel corona virus, known to us now as Covid-

 25   19, was quietly spreading in certain regions of Asia, unbeknownst to the rest of the world. From

 26   December 2019 through February 2020, the Debtor prepared to implement a number of business-

 27   model and operational changes with the goal of making the United States Escada retail business

 28


                                                      3
Case 2:22-bk-10266-BB       Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21                Desc
                             Main Document    Page 7 of 42


  1   profitable and correct the mistakes of its prior management and prior owners. However, in

  2   March 2020, the world drastically changed, and set the Debtor on course for this current

  3   bankruptcy filing. On or about March 15, 2020, the City of Los Angeles declared a state of

  4   emergency with shelter in place orders. In the following days, many business and financial

  5   centers across the United States came to a near total standstill as the nation was gripped by the

  6   Covid-19 crisis. In the span of just 12 days, all fifteen (15) of the Debtor’s then-active stores in

  7   eight (8) States were shuttered due to lockdown restrictions.

  8          In late March 2020, the United States federal government responded with historic

  9   economic aid, passing the CARES Act and providing approximately $3 trillion of stimulus to the

 10   economy, which may have bolstered the stock market’s recovery, but such economic stimulus

 11   did nothing to help retail businesses such as the Debtor, which rely on foot traffic from customer

 12   shopping in stores to generate sales. Unfortunately, the Debtor was not eligible for any of these

 13   stimulus payments and was left with no support during these unprecedented times. In addition,

 14   as long as the pandemic lockdowns continued and stores remained closed, or shoppers refrained

 15   from shopping due to deep concerns about their health and safety, the Covid-19 recession for

 16   retail businesses would continue.

 17          From March 2020 to December 2021, the Debtor reduced its overhead expenses by an

 18   estimated $13,383,037.40 and entered into negotiations with its commercial landlords for rent

 19   relief at all store locations. Nonetheless, the 21 months leading up to the Debtor’s petition date

 20   were a marked state of tremendous uncertainty for the world’s health and economic affairs

 21   brought on by an unprecedented pandemic, followed by an unprecedented recession, then

 22   unprecedented trillions of dollars of government aid, none of which has prevented the ongoing

 23   uncertainty posed by Covid-19 variants and the attendant on-again-off-again lockdowns across

 24   the nation and around the world, all of which made business in the current economic

 25   environment very difficult.

 26          The Debtor negotiated workouts with some, but not all, of its various landlords during

 27   2020 and 2021, but with the consequences of the Covid-19 pandemic that Debtor was forced to

 28


                                                       4
Case 2:22-bk-10266-BB       Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21                Desc
                             Main Document    Page 8 of 42


  1   file bankruptcy to restructure its business affairs. The Debtor cannot survive ongoing litigation

  2   with these landlords and the attendant litigation costs and potential liability for breach of those

  3   leases. Accordingly, the Debtor determined in its reasonable business judgment that it was in the

  4   best interest of its estate to file this current bankruptcy case to preserve the going-concern value

  5   of its business and save the jobs of its employees. The Debtor intends to propose a subchapter V

  6   plan in good faith to reorganize its financial affairs and avoid a senseless and unnecessary

  7   liquidation

  8            To keep the Debtor operating through its reorganization, the Debtor requires the use of

  9   cash collateral. Pursuant to the Motion, the Debtor seeks Court approval authorizing use of cash

 10   collateral in order to pay the expenses of maintaining and operating its business as a going

 11   concern, as set forth in the Budget. The Budget reflects the Debtor’s ordinary and necessary

 12   operating expenses that must be paid post-petition to preserve the Debtor’s business. While the

 13   Budget represents the Debtor’s best estimates of such expenses, the needs of the business may

 14   fluctuate. Thus, the Debtor seeks authority to deviate from the total expenses contained in the

 15   Budget by no more than 15%, on a cumulative basis, and to deviate by category (provided the

 16   Debtor does not pay expenses outside any of the categories) without the need for further Court

 17   order.

 18            The Debtor has three secured creditors (each a “Secured Creditor” and collectively, the

 19   “Secured Creditors”). Eden Roc International, LLC (“Eden Roc”) has a first-position security
 20   interest perfected by the filing of a UCC-1 on substantially all the Debtor’s assets and a secured
 21   debt of approximately $579,025.32. Mega International, LLC (“Mega”) has a second-position
 22   security interest perfected by the filing of a UCC-1 on substantially all the Debtor’s assets and a
 23   secured debt of approximately $1,506,953. Escada Sourcing and Production, LLC (“ESP”) is a
 24   true consignor, and substantially all of the Debtor’s inventory is owned by ESP via a
 25   consignment agreement between the parties. ESP recorded a UCC-1 to give the world notice of
 26   its consignment; additionally, ESP has a security interest on the proceeds and products of ESP’s
 27   inventory. The Secured Creditors consent to the use of cash collateral set forth in the Budget.
 28


                                                       5
Case 2:22-bk-10266-BB       Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21                Desc
                             Main Document    Page 9 of 42


  1          In order to provide the Secured Creditors with adequate protection against any potential

  2   post-petition decline in the value of the Secured Creditors’ collateral, the Debtor proposes that

  3   the Secured Creditors receive: (i) replacement liens against the Debtor’s post-petition assets,

  4   with such replacement liens to have the same validity, priority, and extent as the prepetition liens

  5   held by the Secured Creditors; and (ii) a super-priority administrative claim pursuant to section

  6   507(b) of the Bankruptcy Code.

  7          The Budget includes payments to ESP for sales of merchandise based on the consignment

  8   agreement with 15% of weekly sales revenue remitted to ESP on a weekly basis, as shown by

  9   comparing the “Total Receipts” line and “Consignment Fee” line in the Budget. These payments

 10   are not on account of prepetition debt. As reflected in the initial budget filed with the Court

 11   [ECF 8 at 22], the Debtor did not make any payments to ESP for consignment fees. ESP has not

 12   waived its administrative claim for these fees in the first 13 weeks of the case, but the Debtor

 13   wishes to make clear that consignment fee payments in the Budget attached hereto are go-

 14   forward current weekly sales, not sales for the first 13 weeks of the case.

 15          The Budget also includes payment of $55,000 approximately every four weeks for

 16   “Benefits,” which are for the Debtor’s employees benefits. These payments are made to the

 17   Debtor’s affiliate, Mega Corporate Offices as part of a larger benefits plan. The Debtor’s

 18   affiliate had voluntarily paid these “Benefits” expense without any contribution from the Debtor

 19   for the first 13 weeks of the case. The Debtor’s affiliate has not waived its administrative claim

 20   for these fees in the first 13 weeks of the case, but the Debtor wishes to make clear that

 21   “Benefits” payment in the Budget attached hereto are go-forward benefit expenses, not benefit

 22   expenses going back for the first 13 weeks of the case.

 23          If the Debtor is not permitted to use its cash collateral to maintain and operate its

 24   business, the Debtor will be unable to operate, pay its rent, pay for insurance, or pay its

 25   employees, and the enterprise value of the business will be lost along with any meaningful

 26   chance of recovery by creditors.
 27   ///
 28


                                                       6
Case 2:22-bk-10266-BB        Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21                Desc
                              Main Document    Page 10 of 42


  1                                   ADDITIONAL INFORMATION

  2            This Motion is based upon Local Rule 4001-2 and 9013-1, 11 U.S.C. §§ 361 and 363(c),

  3   and Bankruptcy Rules 4001 and 9014, the supporting Memorandum of Points and Authorities

  4   and declaration of Kevin Walsh Declaration annexed hereto, the previously filed declaration of

  5   John-Patrick M. Fritz, Esq. [ECF 15], the arguments and statements of counsel to be made at the

  6   hearing on the Motion, and other admissible evidence properly brought before the Court.

  7            As set forth in detail in the accompanying Memorandum of Points and Authorities, the

  8   proposed use of cash collateral does not include any of the provisions set forth in Bankruptcy

  9   Rule 4001(c)(1)(B)(i) – (xi) or Local Bankruptcy Rule 4001-2(b).

 10            In order to provide maximum notice of this Motion, and in conformity with the Court’s

 11   order limiting notice [ECF 55], concurrently with the filing of this Motion with the Court, the

 12   Debtor served a copy of this Motion and all supportive papers upon the Office of the United

 13   States Trustee, the subchapter V trustee, the secured creditors or their counsel, the 20 largest

 14   unsecured creditors in the Debtor’s case, and parties requesting special notice.

 15            A copy of the proposed order granting the Motion is attached as Exhibit 2 hereto.

 16            WHEREFORE, the Debtor respectfully requests that this Court enter an order:

 17            (1)    affirming the adequacy of the Notice given herein;

 18            (2)    granting the Motion on a final basis;

 19            (3)    entering an order substantially in the form of the proposed order attached as

 20   Exhibit 2 hereto;

 21            (4)    authorizing the Debtor to use cash collateral through July 15, 2022, to pay all of

 22   the expenses set forth in the Budget attached as Exhibit 1 hereto, with authority to deviate from

 23   the line items contained in the Budget by not more than 15%, on a cumulative and line-item

 24   basis;

 25            (5)    approving adequate protection for the use of cash collateral to Eden Roc

 26   International, LLC, Mega International, LLC, and Escada Sourcing and Production, LLC with:

 27   (i) replacement liens to the same validity, priority, and extent as their respective liens existed as

 28


                                                       7
Case 2:22-bk-10266-BB        Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21                Desc
                              Main Document    Page 11 of 42


  1   of the Petition Date and (ii) ) a super-priority administrative claim pursuant to section 507(b) of

  2   the Bankruptcy Code;

  3          (6)       waiving the stay of FRBP 6004; and

  4          (7)       granting such other and further relief as the Court deems just and proper under the

  5   circumstances.

  6   Dated: March 16, 2022                          ESCADA AMERICA LLC
  7
                                              By: ___/s/ John-Patrick M. Fritz_____
  8                                                 JOHN-PATRICK M. FRITZ
                                                    LEVENE, NEALE, BENDER,
  9                                                 YOO & GOLUBCHIK L.L.P.
                                                    Attorneys for Chapter 11
 10
                                                    Debtor and Debtor in Possession
 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28


                                                        8
Case 2:22-bk-10266-BB       Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21              Desc
                             Main Document    Page 12 of 42


  1                        MEMORANDUM OF POINTS AND AUTHORITIES

  2                                       I.   STATEMENT OF FACTS

  3   A.     General Background
  4          1.      The Debtor commenced its bankruptcy case by filing a voluntary petition under
  5   chapter 11 of the Bankruptcy Code on January 18, 2022, (the “Petition Date”). The Debtor
  6   continues to manage its financial affairs, operate its business, and administer its bankruptcy
  7   estate as a debtor in possession.
  8          2.      The Debtor was formed as a Delaware limited liability company in 2009. The
  9   Debtor is a national specialty retailer selling high-end, ready-to-wear women’s apparel with its
 10   main office in Beverly Hills, California, an office New York City, New York, and, as of the
 11   Petition Date, ten (10) retail stores across seven (7) states in the United States, and over 50
 12   fulltime employees. As part of its first-day motions, the Debtor rejected five (5) leases, and is
 13   now operating at five leased locations with approximately 4 employees in its corporate office and
 14   29 employees in stores.
 15          3.      The Debtor’s retail business is generally known to the public and branded as
 16   “Escada.” The Debtor uses the “Escada” brand via a license agreement and does not own any
 17   intellectual property rights in connection with the “Escada” brand.
 18          4.      For several decades, Escada had been a global retail brand for high-fashion, high-
 19   end, ready-to-wear apparel for women, with an emphasis on high-fashion evening wear.
 20          5.      On a global scale, Escada has various retail stores and subsidiaries in several
 21   countries in Europe, including but not limited to Spain, England and Germany.
 22          6.      Escada also has retail stores in North America, including the Debtor, which
 23   operates Escada’s brick-and-mortar retail business only in the United States.
 24          7.      By 2019, the Escada business on a global scale was in deep distress and could not
 25   continue. At that time, the Debtor, together with other subsidiaries of Escada’s then-parent
 26   company, was acquired by new ownership (which is now the current ownership and
 27   management).
 28


                                                      9
Case 2:22-bk-10266-BB       Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21                Desc
                             Main Document    Page 13 of 42


  1          8.      At the time of the acquisition of Debtor in 2019, Escada had 29 subsidiaries in 22

  2   countries, all of which were financially distressed.

  3          9.      In December 2019, the Debtor devised and began implementation of a plan to turn

  4   around the United States Escada retail business. Debtor believed that the business could be

  5   operated at a profit if fundamental business-model changes were implemented, such as

  6   overhauling the Debtor’s technological suite and reducing speed to market by shifting supply

  7   chains from Asia to Europe.

  8          10.     Debtor’s turnaround plan was also contingent upon Debtor’s ability to sell

  9   product at Debtor’s physical locations because ecommerce sales were minimal.

 10          11.     However, what was not – and could not be – known at the time of the acquisition

 11   in November 2019, was that an unprecedented, global, catastrophic, and life-changing event with

 12   severe economic consequences was on the immediate horizon – the Covid-19 pandemic.

 13          12.     In December 2019, just one month after the acquisition and just as the Debtor’s

 14   transformation plan was being put into effect, the novel corona virus, known to us now as Covid-

 15   19, was quietly spreading in certain regions of Asia, unbeknownst to the rest of the world.

 16          13.     From December 2019 through February 2020, the Debtor prepared to implement a

 17   number of business-model and operational changes with the goal of making the United States

 18   Escada retail business profitable and correct the mistakes of its prior management and prior

 19   owners.

 20          14.     However, in March 2020, the world drastically changed, and set the Debtor on

 21   course for this current bankruptcy filing.

 22          15.     On or about March 15, 2020, the City of Los Angeles declared a state of

 23   emergency with shelter in place orders. In the following days, many business and financial

 24   centers across the United States came to a near total standstill as the nation was gripped by the

 25   Covid-19 crisis. In the span of just 12 days, all fifteen (15) of the Debtor’s then-active stores in

 26   eight (8) States were shuttered due to lockdown restrictions.

 27

 28


                                                       10
Case 2:22-bk-10266-BB         Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21             Desc
                               Main Document    Page 14 of 42


  1           16.     In late March 2020, the United States federal government responded with historic

  2   economic aid, passing the CARES Act and providing approximately $3 trillion of stimulus to the

  3   economy, which may have bolstered the stock market’s recovery, but such economic stimulus

  4   did nothing to help retail businesses such as the Debtor, which rely on foot traffic from customer

  5   shopping in stores to generate sales.

  6           17.     Unfortunately, the Debtor was not eligible for any of these stimulus payments and

  7   was left with no support during these unprecedented times.

  8           18.     In addition, as long as the pandemic lockdowns continued and stores remained

  9   closed, or shoppers refrained from shopping due to deep concerns about their health and safety,

 10   the Covid-19 recession for retail businesses would continue.

 11           19.     From March 2020 to December 2021, the Debtor reduced its overhead expenses

 12   by an estimated $13,383,037.40 and entered into negotiations with its commercial landlords for

 13   rent relief at all store locations.

 14           20.     Nonetheless, the 21 months leading up to the Debtor’s petition date were a

 15   marked state of tremendous uncertainty for the world’s health and economic affairs brought on

 16   by an unprecedented pandemic, followed by an unprecedented recession, then unprecedented

 17   trillions of dollars of government aid, none of which has prevented the ongoing uncertainty

 18   posed by Covid-19 variants and the attendant on-again-off-again lockdowns across the nation

 19   and around the world, all of which made business in the current economic environment very

 20   difficult.

 21           21.     The Debtor negotiated workouts with some, but not all, of its various landlords

 22   during 2020 and 2021, but with the consequences of the Covid-19 pandemic that Debtor was

 23   forced to file bankruptcy to restructure its business affairs.

 24           22.     The Debtor cannot survive ongoing litigation with these landlords and the

 25   attendant litigation costs and potential liability for breach of those leases.

 26

 27

 28


                                                        11
Case 2:22-bk-10266-BB           Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21            Desc
                                 Main Document    Page 15 of 42


  1             23.   Accordingly, the Debtor determined in its reasonable business judgment that it

  2   was in the best interest of its estate to file this current bankruptcy case to preserve the going-

  3   concern value of its business and save the jobs of its employees.

  4             24.   The Debtor intends to propose a subchapter V plan in good faith to reorganize its

  5   financial affairs and avoid a senseless and unnecessary liquidation

  6   B.        The Budget, Cash Collateral, Secured Creditors, and Adequate Protection

  7             25.   To keep the Debtor operating through its reorganization, the Debtor requires the

  8   use of cash collateral.

  9             26.   The Debtor requires the use of cash collateral to maintain and operate its business

 10   and preserve its going concern value by paying ordinary and necessary expenses, as set forth in

 11   the Budget through July 15, 2022. The payment of the expenses reflected in the Budget are in in

 12   the best interest of the estate. A true and correct copy of the Budget is attached as Exhibit 1

 13   hereto.

 14             27.   The Budget reflects the Debtor’s ordinary and necessary operating expenses that

 15   must be paid post-petition to preserve the Debtor’s business.

 16             28.   While the Budget represents the Debtor’s best estimates of such expenses, the

 17   needs of the business may fluctuate. Thus, the Debtor seeks authority to deviate from the total

 18   expenses contained in the Budget by no more than 15%, on a cumulative basis, and to deviate by

 19   category (provided the Debtor does not pay expenses outside any of the categories) without the

 20   need for further Court order.

 21             29.   The Debtor has three secured creditors (each a “Secured Creditor” and

 22   collectively, the “Secured Creditors”).
 23             30.   Eden Roc International, LLC (“Eden Roc”) has a first-position security interest
 24   perfected by the filing of a UCC-1 on substantially all the Debtor’s assets and a secured debt of
 25   approximately $579,025.32.
 26

 27

 28


                                                      12
Case 2:22-bk-10266-BB       Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21                Desc
                             Main Document    Page 16 of 42


  1          31.     Mega International, LLC (“Mega”) has a second-position security interest

  2   perfected by the filing of a UCC-1 on substantially all the Debtor’s assets and a secured debt of

  3   approximately $1,506,953.

  4          32.     Escada Sourcing and Production, LLC (“ESP”) is a true consignor, and

  5   substantially all of the Debtor’s inventory is owned by ESP via a consignment agreement
  6   between the parties. ESP recorded a UCC-1 to give the world notice of its consignment;
  7   additionally, ESP has a security interest on the proceeds and products of ESP’s inventory.
  8          33.     The Secured Creditors consent to the use of cash collateral set forth in the Budget.
  9          34.     In order to provide the Secured Creditors with adequate protection against any
 10   potential post-petition decline in the value of the Secured Creditors’ collateral, the Debtor
 11   proposes that the Secured Creditors receive: (i) replacement liens against the Debtor’s post-
 12   petition assets, with such replacement liens to have the same validity, priority, and extent as the
 13   prepetition liens held by the Secured Creditors; and (ii) a super-priority administrative claim
 14   pursuant to section 507(b) of the Bankruptcy Code.
 15          35.     The Budget includes payments to ESP for sales of merchandise based on the
 16   consignment agreement with 15% of weekly sales revenue remitted to ESP on a weekly basis, as
 17   shown by comparing the “Total Receipts” line and “Consignment Fee” line in the Budget. These
 18   payments are not on account of prepetition debt. As reflected in the initial budget filed with the
 19   Court [ECF 8 at 22], the Debtor did not make any payments to ESP for consignment fees. ESP
 20   has not waived its administrative claim for these fees in the first 13 weeks of the case, but the
 21   Debtor wishes to make clear that consignment fee payments in the Budget attached hereto are
 22   go-forward current weekly sales, not sales for the first 13 weeks of the case.
 23          36.     The Budget also includes payment of $55,000 approximately every four weeks for
 24   “Benefits,” which are for the Debtor’s employees benefits. These payments are made to the
 25   Debtor’s affiliate, Mega Corporate Offices as part of a larger benefits plan. The Debtor’s
 26   affiliate had voluntarily paid these “Benefits” expense without any contribution from the Debtor
 27   for the first 13 weeks of the case. The Debtor’s affiliate has not waived its administrative claim
 28


                                                      13
Case 2:22-bk-10266-BB          Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21               Desc
                                Main Document    Page 17 of 42


  1   for these fees in the first 13 weeks of the case, but the Debtor wishes to make clear that

  2   “Benefits” payment in the Budget attached hereto are go-forward benefit expenses, not benefit

  3   expenses going back for the first 13 weeks of the case.

  4          37.     If the Debtor is not permitted to use its cash collateral to maintain and operate its

  5   business, the Debtor will be unable to operate, pay its rent, pay for insurance, or pay its

  6   employees, and the enterprise value of the business will be lost along with any meaningful

  7   chance of recovery by creditors.

  8                      II.    COMPLIANCE WITH FRBP 4001(c) & LBR 4001-2

  9          Pursuant to Rules 4001(b) and 4001(c)(1)(B) of the Federal Rules of Bankruptcy Procedure
 10   (“Bankruptcy Rules”) and Local Bankruptcy Rule 4001-2(b) and (d), the Debtor submits that the
 11   relief requested by the Debtor pertaining to the use of cash collateral does not contain any of the
 12   following provisions, except as otherwise indicated below:
 13
        Provision                                                                             Cash Coll.
 14     Cross-collateralization clauses                                                       No
 15
        Provisions or findings of fact that bind the estate or all parties in interest with   No
 16     respect to the validity, perfection or amount of the secured party’s pre-petition
        lien or debt or the waiver of claims against the secured creditor.
 17

 18     Provisions or findings of fact that bind the estate or all parties in interest with   No
        respect to the relative priorities of the secured party’s pre-petition lien.
 19
        Provisions that operate, as a practical matter, to divest the Debtor of any         No
 20     discretion in the formulation of a plan or administration of the estate or to limit
        access to the court to seek any relief under other applicable provision of law.
 21
        Waivers of 11 U.S.C. § 506(c), unless the waiver is effective only during the         No
 22     period in which the Debtor is authorized to use cash collateral or borrow
        funds.
 23
        Releases of liability for the creditor’s alleged prepetition torts or breaches of     No
 24     Contract.
 25
        Waivers of avoidance actions arising under the Bankruptcy Code.                       No
 26
        Provisions that deem prepetition secured debt to be postpetition debt or that         No
 27     use postpetition loans from a prepetition secured creditor to pay part or all of
        that secured creditor’s prepetition debt
 28


                                                        14
Case 2:22-bk-10266-BB       Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21                  Desc
                             Main Document    Page 18 of 42


  1     Provision                                                                            Cash Coll.
  2     Provisions that prime any secured lien                                               No
  3     Automatic relief from the automatic stay upon default, conversion to chapter         No
        7, or appointment of a trustee.
  4
        Waivers of procedural requirements, including those for foreclosure mandated         No
  5     under applicable non-bankruptcy law, and for perfection of replacement liens.

  6     Adequate protection provisions which create liens on claims for relief arising       No
        under 11 U.S.C. §§ 506(c), 544, 545, 547, 548 and 549.
  7
        Waivers, effective on default or expiration, of the Debtor’s right to move for a     No
  8     court order pursuant to 11 U.S.C. § 363(c)(2)(B) authorizing the use of cash
        collateral in the absence of the secured party’s consent
  9
        Provisions that grant a lien in an amount in excess of the dollar amount of cash     No
 10     collateral authorized under the applicable cash collateral order.
 11
        Provisions providing for the paying down of prepetition principal owed to a          No
 12     creditor.

 13     Findings of fact on matters extraneous to the approval process.                      No

 14

 15                                         III.    DISCUSSION

 16   A.     The Debtor Must Be Authorized to Use Cash Collateral to Operate, Maintain and
             Preserve the Property and Estate in Accordance with the Budget
 17

 18          This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334.

 19   Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. This matter is a core proceeding under

 20   28 U.S.C. § 157(b)(2).

 21          A debtor’s use of property of the estate is governed by Section 363 of the Bankruptcy

 22   Code. Section 363(c)(l) provides in pertinent part:

 23
                     If the business of the debtor is authorized to be operated under
 24                  section. . .1108. . . of this title and unless the court orders otherwise,
 25                  the trustee may enter into transactions, including the sale or lease of
                     property of the estate, in the ordinary course of business, without
 26                  notice or a hearing, and may use property of the estate in the ordinary
                     course of business without notice or a hearing.
 27
      11 U.S.C.§ 363(c)(l). A debtor in possession has all of the rights and powers of a trustee with
 28


                                                       15
Case 2:22-bk-10266-BB       Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21                     Desc
                             Main Document    Page 19 of 42


  1   respect to property of the estate, including the right to use property of the estate in compliance

  2   with Section 363. See 11 U.S.C. §1107(a).

  3          “Cash collateral” is defined as “cash, negotiable instruments, documents of title,
  4   securities, deposit accounts or other cash equivalents in which the estate and an entity other than
  5   the estate have an interest. . . .” 11 U.S.C. §363(a). Section 363(c)(2) establishes a special
  6   requirement with respect to “cash collateral,” providing that the trustee or debtor in possession
  7   may use “cash collateral” under subsection (c)(l) if:
  8                  (A) each entity that has an interest in such cash collateral consents; or
  9                  (B)     the court, after notice and a hearing, authorizes such use, sale
                     or lease in accordance with the provisions of this section.
 10

 11   See 11 U. S.C. §363(c)(2)(A) and (B).

 12          It is well settled that it is appropriate for a Chapter 11 debtor to use cash collateral for the

 13   purpose of maintaining and operating its property. 11 U.S.C. § 363(c)(2)(B); In re Oak Glen R-

 14   Vee, 8 B.R. 213, 216 (Bankr.C.D.Cal.1981); In re Tucson Industrial Partners, 129 B.R. 614 (9th

 15   Cir.B.A.P.1991). In addition, where the debtor is operating a business, it is extremely important

 16   that the access to cash collateral be allowed in order to facilitate the goal of reorganization: “the

 17   purpose of Chapter 11 is to rehabilitate debtors and generally access to cash collateral is

 18   necessary to operate a business.” In re Dynaco Corporation, 162 B.R. 389 (Bankr.D.N.H.1993),

 19   quoting In re Stein, 19 B.R. 458, 459. (Bankr.E.D.Pa.1982).

 20          The only current source of revenue available to the Debtor to use to maintain and operate

 21   its business is its cash on hand and cash collateral. If the Debtor is not permitted to use cash

 22   collateral to maintain and operate the business, it is a virtual certainty that the going-concern

 23   value of the business will be eviscerated to the detriment of the estate and the secured creditors.

 24          The operating expenses that the Debtor must be able to pay during the pendency of this

 25   case are set forth in the Budget through July 15, 2022. The Budget reflect the Debtor’s ordinary

 26   and necessary operating expenses that must be paid postpetition to preserve the Debtor’s business

 27   as a going concern. While the Budget represents the Debtor’s best estimates of such expenses, the

 28


                                                       16
Case 2:22-bk-10266-BB       Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21                Desc
                             Main Document    Page 20 of 42


  1   needs of the businesses may fluctuate. Thus, the Debtor seeks authority to deviate from the total

  2   expenses contained in the Budget by no more than 15% on a line-item and cumulative basis

  3   without the need for further Court order.

  4   B.     Secured Creditors Consent and Adequate Protection

  5          Pursuant to 11 U.S.C. § 363(c)(2)(A), the Secured Creditors consent to the use of cash

  6   collateral as set forth in the Budget. Pursuant to FRBP 4001(d)(1)(B), and as demonstrated in

  7   the table, supra, the use of cash collateral and the Secured Creditors’ consent is not subject to or

  8   conditioned on any of the offending provisions found in FRBP 4001(c)(1)(B) or Local

  9   Bankruptcy Rule 4001-2(b) and (d).

 10          To the extent that an entity has a valid security interest in the revenues generated by

 11   property, those revenues constitute “cash collateral” under Section 363(a) of the Bankruptcy

 12   Code. Pursuant to Section 363(c)(2), the Court may authorize the debtor to use a secured

 13   creditor’s cash collateral if the secured creditor is adequately protected. In re Mellor, 734 F.2d

 14   1396, 1400 (9th Cir.1984). See also In re O’Connor, 808 F.2d 1393, 1398 (10th Cir.1987); In re
 15   McCombs Properties VI, Ltd., 88 B.R. 261, 265 (Bankr.C.D.Cal.l988) (“McCombs”).
 16          Pursuant to the Supreme Court case of United Savings Association v. Timbers of Inwood
 17   Forest Associates, 108 S.Ct. 626, 629 (1988) and subsequent case law, the property interest that a
 18   debtor must adequately protect pursuant to Sections 361(1) and (2) of the Bankruptcy Code is
 19   only the value of the lien that secures the creditor’s claim. 108 S.Ct. at 630. See also McCombs,
 20   Id., at 266. Section 506(a) “limit[s] the secured status of a creditor (i.e., the secured creditor’s
 21   claim) to the lesser of the [allowed amount of the] claim or the value of the collateral.”
 22   McCombs, Id., at 266.
 23          The preservation of the value of a secured creditor’s lien is sufficient to provide adequate
 24   protection to a secured creditor when a debtor seeks to use cash collateral. In re Triplett, 87 B.R.
 25   25 (Bankr.W.D.Tex.1988). See also In re Stein, 19 B.R. 458 (Bankr.E.D.Pa.1982). The Stein
 26   Court determined that the use of cash collateral was necessary to the continued operations of the
 27   debtor, and that the creditor’s secured position could only be enhanced by the continued
 28


                                                      17
Case 2:22-bk-10266-BB        Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21               Desc
                              Main Document    Page 21 of 42


  1   operation of the debtor's business. See also, In re McCombs, supra, where the court determined

  2   that the debtor’s use of cash collateral for needed repairs, renovations and operating expenses

  3   eliminated the risk of diminution in the creditor’s interest in the cash collateral and such use

  4   would more likely increase cash collateral.

  5          Other courts have determined that a debtor’s continued business operations can constitute

  6   the adequate protection of a secured creditor. See Matter of Pursuit Athletic Footwear, Inc., 193

  7   B.R. 713 (Bankr.D.Del.1996); In re Newark Airport/Hotel Ltd. Partnership, 156 B.R. 444, 450
  8   (Bankr.D.N.J.1993); In re Dynaco, 162 B.R. 389, 394-5 (Bankr.D.N.H.1993); In re
  9   Immenhausen Corp., 164 B.R. 347, 352 (Bankr.M.D.Fla.1994).
 10          Additionally, in determining adequate protection, Courts have stressed the importance of
 11   promoting a debtor’s reorganization.
 12          In In re O’Connor, supra, the Tenth Circuit stated:
 13             “In this case, Debtors, in the midst of a Chapter 11 proceeding, have proposed
 14             to deal with cash collateral for the purpose of enhancing the prospects of
                reorganization. This quest is the ultimate goal of Chapter 11. Hence, the
 15             Debtor’s efforts are not only to be encouraged, but also their efforts during the
                administration of the proceeding are to be measured in light of that quest.
 16             Because the ultimate benefit to be achieved by a successful reorganization
                inures to all the creditors of the estate, a fair opportunity must be given to the
 17
                Debtors to achieve that end. Thus, while interests of the secured creditor whose
 18             property rights are of concern to the court, the interests of all other creditors
                also have bearing upon the question of whether use of cash collateral shall be
 19             permitted during the early stages of administration.”

 20   808 F.2d at 1937.

 21          The use of cash collateral is critical to the Debtor’s ability to implement an effective

 22   reorganization strategy for the benefit of all creditors. As demonstrated herein, the use of the

 23   Debtor’s cash collateral, in accordance with the Budget, will preserve and maximize the Debtor’s

 24   assets for the benefit of the estate and all creditors. If the Debtor is not permitted to use cash

 25   collateral to operate and maintain its business as a going concern, then the going concern value

 26   will be eviscerated to the severe prejudice of all the creditors of the estate.

 27

 28


                                                        18
Case 2:22-bk-10266-BB       Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21               Desc
                             Main Document    Page 22 of 42


  1          The Debtor proposes that the Secured Creditors receive replacement liens against the

  2   Debtor’s post-petition assets, with such replacement liens to have the same validity, priority, and

  3   extent as the prepetition liens held by the Secured Creditors. Bankruptcy Code Section 552(b)

  4   suggests that such replacement liens for post-petition collateral and proceeds are the norm unless

  5   the Court finds otherwise based on the “equities of the case.” 11 U.S.C. § 552(b). Moreover,

  6   this is consistent with non-bankruptcy commercial law, as the Uniform Commercial Code

  7   provides for continuing liens on after-acquired property and the automatic perfection of a lien in

  8   the proceeds and products of collateral. See, UCC 9-204(a) and 9-315(a).

  9          To the extent the foregoing does not protect the Secured Creditors against any post-

 10   petition diminution in the value of their collateral, the Secured Creditors will receive a super-

 11   priority administrative claim pursuant to section 507(b) of the Bankruptcy Code, as a matter of

 12   law. See, 11 U.S.C. § 507(b).

 13   C.     Compliance with Rule 4001 of the Federal Rules of Bankruptcy Procedure and
 14          Local Bankruptcy Rule 4001-2.
             Pursuant to Bankruptcy Rules 4001(b)(1)(C), the Debtor is required to serve a copy of the
 15
      Motion on any entity with an interest in the Debtor’s cash collateral, the 20 largest unsecured
 16
      creditors, and any other entity that the Court directs.      The Debtor has complied with the
 17
      foregoing by serving a copy of the Motion, the proposed order, the supporting declarations and
 18
      other pleadings on the secured creditors, the 20 largest unsecured creditors, the United States
 19
      Trustee, the subchapter V trustee, and parties requesting special notice.
 20
             In addition, in compliance with Local Bankruptcy Rule 4001-2, the Debtor has filed
 21
      concurrently herewith the mandatory Court-approved Form F4001-2 (Statement Regarding Cash
 22
      Collateral Or Debtor In Possession Financing) which discloses whether the proposed Order
 23
      contains certain provisions of findings of fact.     Accordingly, the Motion complies with the
 24
      procedural requirements of Local Bankruptcy Rule 4001-2.
 25
      D.     Waiver of Any Applicable Stay is Appropriate
 26
             The Debtor requires a waiver of the 14-day stay provided for under Bankruptcy Rule 6004
 27
      because the Debtor needs to use cash collateral as soon as possible to maintain the Debtor’s
 28


                                                      19
Case 2:22-bk-10266-BB       Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21                 Desc
                             Main Document    Page 23 of 42


  1   business as a going concern for the benefit of the Debtor’s estate. Notably, Rule 6004(h) is not

  2   meant to apply to the use of cash collateral. See, FED.R.BANKR.P. 6004(h) (“… other than cash

  3   collateral”). In an abundance of caution, the Debtor requests that any applicable stay, including the

  4   stay provided under Bankruptcy Rule 6004, be waived to allow Order on this Motion to become

  5   immediately effective.

  6                                        IV.     CONCLUSION

  7   WHEREFORE, the Debtor respectfully requests that this Court enter an order:
  8          (1)     affirming the adequacy of the Notice given herein;
  9          (2)     granting the Motion on a final basis;
 10          (3)     entering an order substantially in the form of the proposed order attached as
 11                  Exhibit 2 hereto;
 12          (4)     authorizing the Debtor to use cash collateral through July 15, 2022, to pay all of
 13                  the expenses set forth in the Budget attached as Exhibit 1 hereto, with authority
 14                  to deviate from the line items contained in the Budget by not more than 15%, on a
 15                  cumulative and line-item basis;
 16          (5)     approving adequate protection for the use of cash collateral to Eden Roc
 17                  International, LLC, Mega International, LLC, and Escada Sourcing and
 18                  Production, LLC with: (i) replacement liens to the same validity, priority, and
 19                  extent as their respective liens existed as of the Petition Date and (ii) ) a super-
 20                  priority administrative claim pursuant to section 507(b) of the Bankruptcy Code;
 21          (6)     waiving the stay of FRBP 6004; and
 22   ///
 23   ///
 24   ///
 25   ///
 26   ///
 27   ///
 28


                                                       20
Case 2:22-bk-10266-BB    Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21                Desc
                          Main Document    Page 24 of 42


  1         (7)    granting such other and further relief as the Court deems just and proper under the

  2                circumstances.

  3   Dated: March 16, 2022                      ESCADA AMERICA LLC
  4
                                          By: ___/s/ John-Patrick M. Fritz_____
  5                                             JOHN-PATRICK M. FRITZ
                                                LEVENE, NEALE, BENDER,
  6                                             YOO & GOLUBCHIK L.L.P.
                                                Attorneys for Chapter 11
  7
                                                Debtor and Debtor in Possession
  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28


                                                   21
Case 2:22-bk-10266-BB       Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21              Desc
                             Main Document    Page 25 of 42


  1                                DECLARATION OF KEVIN WALSH
  2
             I, Kevin Walsh, hereby declare as follows:
  3
             1.      I have personal knowledge of the facts set forth below and, if called to testify,
  4
      would and could competently testify thereto.
  5
             2.      I am the Director of Finance for Escada America LLC, a Delaware limited
  6
      liability company. (the “Debtor”), the debtor and debtor in possession in this chapter 11
  7
      bankruptcy case.
  8
             3.      I am an experienced finance professional, having worked for the Debtor since
  9
      2016 and with prior work experience at Fortune 500 companies including Johnson & Johnson
 10
      (Controller/Director) and Pfizer (Finance Director).
 11
             4.      I have reviewed and am familiar with and am knowledgeable about the books and
 12
      records of the Debtor, which books and records are made in the regular practice of business, kept
 13
      in the regular course of business, made by a person with knowledge of the events and
 14
      information related thereto, and made at or near the time of events and information recorded.
 15
             5.      I make this declaration in support of the Debtor’s “Motion for Order: (I)
 16
      Authorizing Use of Cash Collateral Pursuant to Section 363 of the Bankruptcy Code; and (II)
 17
      Approving Adequate Protection” (the “Motion”).
 18
             6.      The Debtor commenced its bankruptcy case by filing a voluntary petition under
 19
      chapter 11 of the Bankruptcy Code on January 18, 2022, (the “Petition Date”). The Debtor
 20
      continues to manage its financial affairs, operate its business, and administer its bankruptcy
 21
      estate as a debtor in possession.
 22
             7.      The Debtor was formed as a Delaware limited liability company in 2009. The
 23
      Debtor is a national specialty retailer selling high-end, ready-to-wear women’s apparel with its
 24
      main office in Beverly Hills, California, an office New York City, New York, and, as of the
 25
      Petition Date, ten (10) retail stores across seven (7) states in the United States, and over 50
 26
      fulltime employees. As part of its first-day motions, the Debtor rejected five (5) leases, and is
 27

 28


                                                     22
Case 2:22-bk-10266-BB       Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21              Desc
                             Main Document    Page 26 of 42


  1   now operating at five leased locations with approximately 4 employees in its corporate office and

  2   29 employees in stores.

  3          8.      The Debtor’s retail business is generally known to the public and branded as

  4   “Escada.” The Debtor uses the “Escada” brand via a license agreement and does not own any

  5   intellectual property rights in connection with the “Escada” brand.

  6          9.      For several decades, Escada had been a global retail brand for high-fashion, high-

  7   end, ready-to-wear apparel for women, with an emphasis on high-fashion evening wear.

  8          10.     On a global scale, Escada has various retail stores and subsidiaries in several

  9   countries in Europe, including but not limited to Spain, England and Germany.

 10          11.     Escada also has retail stores in North America, including the Debtor, which

 11   operates Escada’s brick-and-mortar retail business only in the United States.

 12          12.     By 2019, the Escada business on a global scale was in deep distress and could not

 13   continue. At that time, the Debtor, together with other subsidiaries of Escada’s then-parent

 14   company, was acquired by new ownership (which is now the current ownership and

 15   management).

 16          13.     At the time of the acquisition of Debtor in 2019, Escada had 29 subsidiaries in 22

 17   countries, all of which were financially distressed.

 18          14.     In December 2019, the Debtor devised and began implementation of a plan to turn

 19   around the United States Escada retail business. Debtor believed that the business could be

 20   operated at a profit if fundamental business-model changes were implemented, such as

 21   overhauling the Debtor’s technological suite and reducing speed to market by shifting supply

 22   chains from Asia to Europe.

 23          15.     Debtor’s turnaround plan was also contingent upon Debtor’s ability to sell

 24   product at Debtor’s physical locations because ecommerce sales were minimal.

 25          16.     However, what was not – and could not be – known at the time of the acquisition

 26   in November 2019, was that an unprecedented, global, catastrophic, and life-changing event with

 27   severe economic consequences was on the immediate horizon – the Covid-19 pandemic.

 28


                                                       23
Case 2:22-bk-10266-BB         Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21              Desc
                               Main Document    Page 27 of 42


  1           17.     In December 2019, just one month after the acquisition and just as the Debtor’s

  2   transformation plan was being put into effect, the novel corona virus, known to us now as Covid-

  3   19, was quietly spreading in certain regions of Asia, unbeknownst to the rest of the world.

  4           18.     From December 2019 through February 2020, the Debtor prepared to implement a

  5   number of business-model and operational changes with the goal of making the United States

  6   Escada retail business profitable and correct the mistakes of its prior management and prior

  7   owners.

  8           19.     However, in March 2020, the world drastically changed, and set the Debtor on

  9   course for this current bankruptcy filing.

 10           20.     On or about March 15, 2020, the City of Los Angeles declared a state of

 11   emergency with shelter in place orders. In the following days, many business and financial

 12   centers across the United States came to a near total standstill as the nation was gripped by the

 13   Covid-19 crisis. In the span of just 12 days, all fifteen (15) of the Debtor’s then-active stores in

 14   eight (8) States were shuttered due to lockdown restrictions.

 15           21.     In late March 2020, the United States federal government responded with historic

 16   economic aid, passing the CARES Act and providing approximately $3 trillion of stimulus to the

 17   economy, which may have bolstered the stock market’s recovery, but such economic stimulus

 18   did nothing to help retail businesses such as the Debtor, which rely on foot traffic from customer

 19   shopping in stores to generate sales.

 20           22.     Unfortunately, the Debtor was not eligible for any of these stimulus payments and

 21   was left with no support during these unprecedented times.

 22           23.     In addition, as long as the pandemic lockdowns continued and stores remained

 23   closed, or shoppers refrained from shopping due to deep concerns about their health and safety,

 24   the Covid-19 recession for retail businesses would continue.

 25           24.     From March 2020 to December 2021, the Debtor reduced its overhead expenses

 26   by an estimated $13,383,037.40 and entered into negotiations with its commercial landlords for

 27   rent relief at all store locations.

 28


                                                      24
Case 2:22-bk-10266-BB           Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21            Desc
                                 Main Document    Page 28 of 42


  1             25.   Nonetheless, the 21 months leading up to the Debtor’s petition date were a

  2   marked state of tremendous uncertainty for the world’s health and economic affairs brought on

  3   by an unprecedented pandemic, followed by an unprecedented recession, then unprecedented

  4   trillions of dollars of government aid, none of which has prevented the ongoing uncertainty

  5   posed by Covid-19 variants and the attendant on-again-off-again lockdowns across the nation

  6   and around the world, all of which made business in the current economic environment very

  7   difficult.

  8             26.   The Debtor negotiated workouts with some, but not all, of its various landlords

  9   during 2020 and 2021, but with the consequences of the Covid-19 pandemic that Debtor was

 10   forced to file bankruptcy to restructure its business affairs.

 11             27.   The Debtor cannot survive ongoing litigation with these landlords and the

 12   attendant litigation costs and potential liability for breach of those leases.

 13             28.   Accordingly, the Debtor determined in its reasonable business judgment that it

 14   was in the best interest of its estate to file this current bankruptcy case to preserve the going-

 15   concern value of its business and save the jobs of its employees.

 16             29.   The Debtor intends to propose a subchapter V plan in good faith to reorganize its

 17   financial affairs and avoid a senseless and unnecessary liquidation

 18             30.   To keep the Debtor operating through its reorganization, the Debtor requires the

 19   use of cash collateral.

 20             31.   The Debtor requires the use of cash collateral to maintain and operate its business

 21   and preserve its going concern value by paying ordinary and necessary expenses, as set forth in

 22   the Budget through July 15, 2022. The payment of the expenses reflected in the Budget are in in

 23   the best interest of the estate. A true and correct copy of the Budget is attached as Exhibit 1

 24   hereto.

 25             32.   The Budget reflects the Debtor’s ordinary and necessary operating expenses that

 26   must be paid post-petition to preserve the Debtor’s business.

 27

 28


                                                        25
Case 2:22-bk-10266-BB       Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21                Desc
                             Main Document    Page 29 of 42


  1          33.     While the Budget represents the Debtor’s best estimates of such expenses, the

  2   needs of the business may fluctuate. Thus, the Debtor seeks authority to deviate from the total

  3   expenses contained in the Budget by no more than 15%, on a cumulative basis, and to deviate by

  4   category (provided the Debtor does not pay expenses outside any of the categories) without the

  5   need for further Court order.

  6          34.     The Debtor has three secured creditors (each a “Secured Creditor” and

  7   collectively, the “Secured Creditors”).
  8          35.     Eden Roc International, LLC (“Eden Roc”) has a first-position security interest
  9   perfected by the filing of a UCC-1 on substantially all the Debtor’s assets and a secured debt of
 10   approximately $579,025.32.
 11          36.     Mega International, LLC (“Mega”) has a second-position security interest
 12   perfected by the filing of a UCC-1 on substantially all the Debtor’s assets and a secured debt of
 13   approximately $1,506,953.
 14          37.     Escada Sourcing and Production, LLC (“ESP”) is a true consignor, and
 15   substantially all of the Debtor’s inventory is owned by ESP via a consignment agreement
 16   between the parties. ESP recorded a UCC-1 to give the world notice of its consignment;
 17   additionally, ESP has a security interest on the proceeds and products of ESP’s inventory.
 18          38.     The Secured Creditors consent to the use of cash collateral set forth in the Budget.
 19          39.     In order to provide the Secured Creditors with adequate protection against any
 20   potential post-petition decline in the value of the Secured Creditors’ collateral, the Debtor
 21   proposes that the Secured Creditors receive: (i) replacement liens against the Debtor’s post-
 22   petition assets, with such replacement liens to have the same validity, priority, and extent as the
 23   prepetition liens held by the Secured Creditors; and (ii) a super-priority administrative claim
 24   pursuant to section 507(b) of the Bankruptcy Code.
 25          40.     The Budget includes payments to ESP for sales of merchandise based on the
 26   consignment agreement with 15% of weekly sales revenue remitted to ESP on a weekly basis, as
 27   shown by comparing the “Total Receipts” line and “Consignment Fee” line in the Budget. These
 28


                                                      26
Case 2:22-bk-10266-BB       Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21                Desc
                             Main Document    Page 30 of 42


  1   payments are not on account of prepetition debt. As reflected in the initial budget filed with the

  2   Court [ECF 8 at 22], the Debtor did not make any payments to ESP for consignment fees. ESP

  3   has not waived its administrative claim for these fees in the first 13 weeks of the case, but the

  4   Debtor wishes to make clear that consignment fee payments in the Budget attached hereto are

  5   go-forward current weekly sales, not sales for the first 13 weeks of the case.

  6            41.   The Budget also includes payment of $55,000 approximately every four weeks for

  7   “Benefits,” which are for the Debtor’s employees benefits. These payments are made to the

  8   Debtor’s affiliate, Mega Corporate Offices as part of a larger benefits plan. The Debtor’s

  9   affiliate had voluntarily paid these “Benefits” expense without any contribution from the Debtor

 10   for the first 13 weeks of the case. The Debtor’s affiliate has not waived its administrative claim

 11   for these fees in the first 13 weeks of the case, but the Debtor wishes to make clear that

 12   “Benefits” payment in the Budget attached hereto are go-forward benefit expenses, not benefit

 13   expenses going back for the first 13 weeks of the case.

 14            42.   If the Debtor is not permitted to use its cash collateral to maintain and operate its

 15   business, the Debtor will be unable to operate, pay its rent, pay for insurance, or pay its

 16   employees, and the enterprise value of the business will be lost along with any meaningful

 17   chance of recovery by creditors.

 18            43.   The Debtor submits that the relief requested by the Debtor pertaining to the use of

 19   cash collateral does not contain any of the following provisions, except as otherwise indicated

 20   below:

 21   [remainder of page intentionally left blank]

 22

 23

 24

 25

 26

 27

 28


                                                      27
Case 2:22-bk-10266-BB        Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21               Desc
                              Main Document    Page 31 of 42


  1

  2   Provision                                                                    Cash Coll.
      Cross-collateralization clauses                                              No
  3
      Provisions or findings of fact that bind the estate or all parties in interest No
  4   with respect to the validity, perfection or amount of the secured party’s
      pre-petition lien or debt or the waiver of claims against the secured
  5   creditor.

  6   Provisions or findings of fact that bind the estate or all parties in interest No
      with respect to the relative priorities of the secured party’s pre-petition
  7   lien.

  8   Provisions that operate, as a practical matter, to divest the Debtor of any No
      discretion in the formulation of a plan or administration of the estate or
  9   to limit access to the court to seek any relief under other applicable
      provision of law.
 10
      Waivers of 11 U.S.C. § 506(c), unless the waiver is effective only           No
 11   during the period in which the Debtor is authorized to use cash
      collateral or borrow funds.
 12
      Releases of liability for the creditor’s alleged prepetition torts or        No
 13   breaches of Contract.
 14
      Waivers of avoidance actions arising under the Bankruptcy Code.              No
 15
      Provisions that deem prepetition secured debt to be postpetition debt or     No
 16   that use postpetition loans from a prepetition secured creditor to pay
      part or all of that secured creditor’s prepetition debt
 17
      Provisions that prime any secured lien                                       No
 18   Automatic relief from the automatic stay upon default, conversion to         No
      chapter 7, or appointment of a trustee.
 19
      Waivers of procedural requirements, including those for foreclosure          No
 20   mandated under applicable non-bankruptcy law, and for perfection of
      replacement liens.
 21

 22   Adequate protection provisions which create liens on claims for relief       No
      arising under 11 U.S.C. §§ 506(c), 544, 545, 547, 548 and 549.
 23
      Waivers, effective on default or expiration, of the Debtor’s right to        No
 24   move for a court order pursuant to 11 U.S.C. § 363(c)(2)(B) authorizing
      the use of cash collateral in the absence of the secured party’s consent
 25
      Provisions that grant a lien in an amount in excess of the dollar amount     No
 26   of cash collateral authorized under the applicable cash collateral order.

 27   Provisions providing for the paying down of prepetition principal owed       No
      to a creditor.
 28
      Findings of fact on matters extraneous to the approval process.              No

                                                        28
Case 2:22-bk-10266-BB       Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21                 Desc
                             Main Document    Page 32 of 42


  1           44.    The Debtor requires a waiver of the 14-day stay provided for under Bankruptcy

  2   Rule 6004 because the Debtor needs to use cash collateral as soon as possible to maintain the

  3   Debtor’s business as a going concern for the benefit of the Debtor’s estate.

  4           45.    The Debtor requests that any applicable stay, including the stay provided under

  5   Bankruptcy Rule 6004, be waived to allow Order on this Motion to become immediately

  6   effective.

  7           46.    Immediate use of cash collateral is necessary to avoid immediate and irreparable

  8   harm, as the Budget’s expenses are for immediate necessary expenses, such as payroll,

  9   insurance, rent, and utilities, all of which are needed to preserve the value of ongoing operations.

 10           47.    A true and correct copy of the proposed order is attached as Exhibit 2 hereto.

 11

 12           I declare and verify under penalty of perjury that the foregoing is true and correct to the

 13   best of my knowledge, information and belief.

 14                                                        Playa Flamingo, Gunacaste,
              Executed on this 16th day of March 2022, at _______________,            Costa Rica
                                                                            ____________.

 15

 16

 17
                                                            Kevin Walsh
                                                                  Walsh, Declarant
 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28


                                                       29
Case 2:22-bk-10266-BB   Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21   Desc
                         Main Document    Page 33 of 42




                                 Exhibit 1
         Escada America LLC
         Cash flow Projections
         $ in Thousands, Except per Unit Data           WE         WE          WE          WE          WE          WE          WE          WE          WE          WE          WE          WE          WE          TOTAL
         Fcst / Act                                    FCST        FCST        FCST        FCST        FCST        FCST        FCST        FCST        FCST        FCST        FCST        FCST        FCST         FCST
         Projection Week                                 1          2           3           4           5           6           7           8           9           10          11          12          13           13
         Week Ending                                  04/22/22 04/29/22 05/06/22 05/13/22 05/20/22 05/27/22 06/03/22 06/10/22 06/17/22 06/24/22 07/01/22 07/08/22 07/15/22                                         07/15/22

  1      Beginning Cash                                $1,600      $1,655      $1,603      $1,562      $1,539      $1,561      $1,500      $1,453      $1,455      $1,478      $1,424      $1,394      $1,396       $1,600
  2
  3           ( + ) FP Receipts                          $72         $72         $72         $72         $72         $72         $72         $72         $72         $72         $72         $72         $72          $930
  4           ( + ) OU Receipts                               -           -           -           -           -           -           -           -           -           -           -           -           -            -
                                                                                                                                                                                                                                                                   Case 2:22-bk-10266-BB




  5           ( + ) WHS Receipts                              -           -           -           -           -           -           -           -           -           -           -           -           -            -
  6           ( + ) Other Receipts                            -         20            -           -           -         20            -           -           -           -          20           -           -           60
  7      Total Receipts                                  $72         $92         $72         $72         $72         $92         $72         $72         $72         $72         $92         $72         $72          $990
  8
  9           ( - ) Consignment Fee                      ($11)       ($14)       ($11)       ($11)       ($11)       ($14)       ($11)       ($11)       ($11)       ($11)       ($14)       ($11)       ($11)       ($148)
  10          ( - ) HQ Personnel                              -         (20)          -         (20)          -         (20)          -         (20)          -       (20)            -       (20)            -       (120)
  11          ( - ) Store Personnel                           -         (33)          -         (33)          -         (33)          -         (33)          -       (33)            -       (33)            -       (198)
                                                                                                                                                                                                                                            Main Document




  12          ( - ) Store Retention Bonus 2                             (11)          -         (25)          -         (25)          -          (1)          -          (1)          -          (1)          -        (64)
  13          ( - ) Store Retention Bonus 1                   -           -           -           -           -           -           -           -           -           -           -           -           -            -
  14          ( - ) Selling and Shipping                     (3)         (3)         (3)         (3)         (3)         (3)         (3)         (3)         (3)         (3)         (3)         (3)         (3)       (33)
  15          ( - ) Store Rent                                -           -         (97)          -           -           -         (97)          -           -           -       (97)            -           -       (291)
  16          ( - ) Warehouse Rent                            -           -           -           -           -           -           -           -           -           -           -           -           -            -
  17          ( - ) Financial Charges                        (1)         (1)         (1)         (1)         (1)         (1)         (1)         (1)         (1)         (1)         (1)         (1)         (1)       (14)
  18          ( - ) Benefits                                  -         (55)          -           -           -         (55)          -           -           -       (55)            -           -           -       (165)
                                                                                                                                                                                                                                                             Page 34 of 42




  19          ( - ) Misc. (Facilities & Other)               (2)         (2)         (2)         (2)         (2)         (2)         (2)         (2)         (2)         (2)         (2)         (2)         (2)       (26)
  20          ( - ) Utilities, Telephones, Networks           -          (5)          -           -           -           -          (5)          -           -           -          (5)          -           -        (15)
  21          ( - ) Taxes                                     -           -           -           -         (33)          -           -           -         (32)          -           -           -       (26)         (91)
  22          ( - ) Shared Services Fee                       -           -           -           -           -           -           -           -           -           -           -           -           -            -
  23     Total Disbursements                             ($16)     ($143)      ($113)        ($94)       ($49)      ($152)      ($118)       ($70)       ($48)      ($125)      ($121)       ($70)       ($42)     ($1,165)
  24
  25     Weekly Net Operating Cash                       $55         ($52)       ($42)       ($23)       $22         ($61)       ($47)          $1       $23         ($54)       ($30)           $1      $29         ($175)
  26
                                                                                                                                                                                                                                           Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21




  34     Ending Cash                                   $1,655      $1,603      $1,562      $1,539      $1,561      $1,500      $1,453      $1,455      $1,478      $1,424      $1,394      $1,396      $1,425       $1,425
                                                                                                                                                                                                                                                                   Desc




Escada America CF (3-15-22 Draft)                                                                        1 of 1                                                                                                        3/16/2022 2:09 PM
Case 2:22-bk-10266-BB   Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21   Desc
                         Main Document    Page 35 of 42




                                 Exhibit 2
Case 2:22-bk-10266-BB     Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21                 Desc
                           Main Document    Page 36 of 42


  1   JOHN-PATRICK M. FRITZ (State Bar No. 245240)
      LEVENE, NEALE, BENDER,
  2   YOO & GOLUBCHIK L.L.P.
  3   2818 La Cienega Avenue
      Los Angeles, California 90034
  4   Telephone: (310) 229-1234
      Facsimile: (310) 229-1244
  5   Email: JPF@LNBYG.COM
  6   Attorneys for Chapter 11
  7   Debtor and Debtor in Possession

  8
                             UNITED STATES BANKRUPTCY COURT
  9                           CENTRAL DISTRICT OF CALIFORNIA
                                   LOS ANGELES DIVISION
 10
      In re:                                           )   Case No.: 2:22-bk-10266-BB
 11                                                    )
      ESCADA AMERICA LLC,                              )   Chapter 11 Case
 12                                                    )   Subchapter V
                Debtor and Debtor in Possession.       )
 13                                                        ORDER AUTHORIZING USE OF CASH
                                                       )
                                                       )   COLLATERAL     AND  PROVIDING
 14                                                        ADEQUATE           PROTECTION
                                                       )   PURSUANT TO SECTIONS 361 AND
 15                                                    )   363 OF THE BANKRUPTCY CODE ON
                                                       )   A FINAL BASIS THROUGH JULY 15,
 16                                                    )   2022
                                                       )
 17                                                        Hearing:
                                                       )
                                                       )   Date: April 6, 2022
 18                                                        Time: 10:00 a.m.
                                                       )
 19                                                    )   Place: Courtroom 1539
                                                       )          255 East Temple Street
 20                                                    )          Los Angeles, CA 90012
                                                       )
 21
                                                       )
 22                                                    )
                                                       )
 23                                                    )
                                                       )
 24                                                    )
 25                                                    )
                                                       )
 26                                                    )

 27

 28


                                                   1
Case 2:22-bk-10266-BB       Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21                Desc
                             Main Document    Page 37 of 42


  1          On April 6, 2022, at 10:00 a.m., the Honorable Sheri Bluebond, United States

  2   Bankruptcy Judge for the Central District of California (the “Court”), held a final hearing (the

  3   “Hearing”) in Courtroom 1539 of the United States Bankruptcy Courthouse located at 255 East
  4   Temple Street, Los Angeles, California, to consider the Motion for Order (I) Authorizing Use of
  5   Cash Collateral Pursuant to Section 363 of the Bankruptcy Code; and (II) Providing Adequate
  6   Protection (the “Motion”) [ECF __], filed by Escada America LLC, a Delaware limited liability
  7   company (the “Debtor”), the debtor and debtor in possession in the above-captioned, chapter 11
  8   bankruptcy case. Appearances were made as set forth on the Court’s record of the hearing.
  9          The Court, having read and considered the Motion and all papers in support of the
 10   Motion, including the declaration of Kevin Walsh (the “Declaration”) annexed to the Motion,
 11   and the previously filed declaration of John-Patrick M. Fritz [ECF 15], the statements of counsel
 12   made orally at the hearing, the record in the case, the docket in the case, no opposition having
 13   been filed or received, and for good cause appearing, therefor,
 14          HEREBY FINDS that notice of the Motion and Hearing were good and proper under
 15   the circumstances and pursuant to the Bankruptcy Code, Federal Rules of Bankruptcy
 16   Procedure, and Local Bankruptcy Rules, and
 17          HEREBY ORDERS AS FOLLOWS:
 18          (1)     The Motion is granted on a final basis as set forth in this Order;
 19          (2)     Through July 15, 2022, the Debtor is authorized to use cash collateral to pay all of
 20   the expenses set forth in the Budget attached as Exhibit 1 to the Motion and Declaration, with
 21   authority to deviate from the line items contained in the Budget by not more than 15%, on a
 22   cumulative and line-item basis;
 23          (3)     As adequate protection for the use of cash collateral, Eden Roc International,
 24   LLC, Mega International, LLC, and Escada Sourcing and Production, LLC shall have: (i)
 25   replacement liens to the same validity, priority, and extent as their respective liens existed as of
 26   the Petition Date and (ii) ) super-priority administrative claims pursuant to section 507(b) of the
 27   Bankruptcy Code; and
 28


                                                       2
Case 2:22-bk-10266-BB   Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21   Desc
                         Main Document    Page 38 of 42


  1         (4)   The stay of FRBP 6004 is waived.

  2         SO ORDERED.

  3                                           ###
  4

  5

  6

  7

  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28


                                                3
Case 2:22-bk-10266-BB         Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21                      Desc
                               Main Document    Page 39 of 42


  1                            PROOF OF SERVICE OF DOCUMENT
  2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is 2818 La Cienega Avenue, Las Angeles, CA 90034
  3
      A true and correct copy of the foregoing document entitled MOTION FOR ORDER: (I) AUTHORIZING
  4   USE OF CASH COLLATERAL PURSUANT TO SECTION 363 OF THE BANKRUPTCY CODE; AND (II)
      APPROVING ADEQUATE PROTECTION; MEMORANDUM OF POINTS AND AUTHORITIES;
  5   DECLARATION OF KEVIN WALSH IN SUPPORT will be served or was served (a) on the judge in
      chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:
  6
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  7   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On March 16, 2022, I checked the CM/ECF docket for this bankruptcy case or
  8   adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
      receive NEF transmission at the email addresses stated below:
  9
                                                                 Service information continued on attached page
 10
      2. SERVED BY UNITED STATES MAIL: On March 16, 2022, I served the following persons and/or
 11   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
      and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
 12   addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
      completed no later than 24 hours after the document is filed.
 13                                                              Service information continued on attached page

 14   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
      (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
      March 16, 2022, I served the following persons and/or entities by personal delivery, overnight mail
 15   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
 16   mail to, the judge will be completed no later than 24 hours after the document is filed.
 17
      The Honorable Sheri Bluebond
 18   United States Bankruptcy Court
      Central District of California
 19   Edward R. Roybal Federal Building and Courthouse
      255 E. Temple Street, Suite 1534 / Courtroom 1539
 20   Los Angeles, CA 90012

 21                                                              Service information continued on attached page

 22   I declare under penalty of perjury under the laws of the United States of America that the foregoing is true
      and correct.
 23
       March 16, 2022              Jason Klassi                          /s/ Jason Klassi
 24    Date                            Type Name                         Signature

 25

 26

 27

 28


                                                          30
Case 2:22-bk-10266-BB              Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21                         Desc
                                    Main Document    Page 40 of 42


  1
       Escada 9277
  2    20 Largest, Secured and RSN


  3

  4
       717 GFC LLC                           Beverly Hills Wilshire Hotel          Worth-Pondfield LLC
  5    Attn: Mrs.Tsui Yeung                  9500 WILSHIRE BLVD                    c/o SAMSON MANAGEMENT CORP.
       500 5th Avenue 54th Floor             BEVERLY HILLS, CA 90212               Attn.: Kathy Panaro
  6    New York City, NY 10110                                                     97-77 QUEENS BLVD, SUITE 710
                                                                                   REGO PARK, NY 11374
  7
       Chicago Oak Street Partners, LLC      Alliant Insurance Services, Inc.      SPG HOUSTON HOLDINGS,LP
  8    Attn: Lesley Pembroke                 701 B St 6th Floor                    PO Box 822693
       1343 N. Wells Street, Rear Bldg.      San Diego, CA 92101                   PHILADELPHIA, PA 19182-2693
  9    Chicago, IL 60610


 10
       Las Vegas North Outlets, LLC          Ala Moana Anchor Acquisition, LLC     CHETRIT 1412 LLC
 11    Attn: Marie Wood                      Attn: Lisa Gordon                     Attn: Nativ Winiarsky
       875 South Grand Central Parkway, #1   PO Box 860375                         PO Box 785000
 12    Las Vegas, NV 89106                   Minneapolis, MN 55486-0074            PHILADELPHIA, PA 10018


 13
       Syzygy Performance GmbH               Scottsdale Fashion Square LLC         Woodbury Common Premium Outlets
 14    Osterwaldstra e 10                    Attn: Tamara Ortega                   Attn: Marie Wood
       Munchen, Germany 80805-0000           PO Box 31001-2156                     PO Box 822884
 15                                          Pasadena, CA 91110-2156               Philadelphia, PA 19182-2884


 16
       Premium Outlet Partners LP            Bal Harbour Shops LLLP                METROPOLITAN TELECOMM.
 17    Attn: Leslie C. Traylor               Attn: Lorena Dehogues                 PO Box 9660
       PO Box 822873                         9700 Collins Avenue                   MANCHESTER, NH 03108-9660
 18    Philadelphia, PA 19182-2873           Bal Harbour, FL 33154


 19
       AMERICAN EXPRESS                      Johnson Controls Security Solutions   Simon Property Group LP
 20    PO Box 1270                           Attn: Virgil Guerra                   2696 Solution Center
       NEWARK, NJ 07101-1270                 PO Box 371994                         Chicago, IL 60677-2006
 21                                          Pittsburgh, PA 15250-7994


 22
       Cushman and Wakefield                 Funaro & co., P.C.                    Sawgrass Mills Phase IV, L.L.C.
 23    Attn: Kaleb McCullough                Attn: Joseph M. Catalano              c/o M.S. Management Associates Inc.,
       1290 Avenue of the Americas           350 Fifth Avenue, 41st Fl             225 W Washington St,
 24    New York, NY 10104                    New York, NY 10118                    Indianapolis, IN 46204


 25

 26

 27

 28


                                                               31
Case 2:22-bk-10266-BB             Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21                      Desc
                                   Main Document    Page 41 of 42


  1   RSN                                   RSN
      Dustin P. Branch, Esq.                Simon Property Group, Inc.
  2   Jessica M. Simon, Esq.                Attn: Ronald M. Tucker, Esq.
      Nahal Zarnighian, Esq.                225 West Washington Street
  3   BALLARD SPAHR LLP                     Indianapolis, Indiana 46204
      2029 Century Park East, Suite 1400
  4                                         Secured                              Secured
      Secured                               Escada Sourcing and Production LLC   Mega International, LLC
  5   Eden Roc International, LLC           9720 Wilshire Blvd. 6th Floor        9720 Wilshire Blvd. 6th Floor
      9720 Wilshire Blvd. 6th Floor         Beverly Hills, CA 90212              Beverly Hills, CA 90212
  6   Beverly Hills, CA 90212


  7

  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28


                                                             32
Case 2:22-bk-10266-BB         Doc 101 Filed 03/16/22 Entered 03/16/22 17:49:21               Desc
                               Main Document    Page 42 of 42


  1   2:22-bk-10266-BB Notice will be electronically mailed to:

  2   Dustin P Branch on behalf of Creditor The Macerich Company
      branchd@ballardspahr.com, carolod@ballardspahr.com;hubenb@ballardspahr.com
  3
      John C Cannizzaro on behalf of Creditor 717 GFC LLC
  4   john.cannizzaro@icemiller.com, julia.yankula@icemiller.com

  5   Michael J Darlow on behalf of Creditor Harris County Municipal Utility District #358
      mdarlow@pbfcm.com, tpope@pbfcm.com
  6
      Caroline Djang on behalf of Interested Party Caroline R. Djang
  7   caroline.djang@bbklaw.com, laurie.verstegen@bbklaw.com;wilma.escalante@bbklaw.com

  8   Eryk R Escobar on behalf of U.S. Trustee United States Trustee (LA)
      eryk.r.escobar@usdoj.gov
  9
      John-Patrick M Fritz on behalf of Debtor Escada America, LLC
 10   jpf@lnbyg.com, JPF.LNBYB@ecf.inforuptcy.com

 11   William W Huckins on behalf of Creditor Brookfield Properties Retail, Inc.
      whuckins@allenmatkins.com, clynch@allenmatkins.com;igold@allenmatkins.com
 12
      Gregory Kent Jones (TR)
 13   gjones@sycr.com, smjohnson@sycr.com;C191@ecfcbis.com;cpesis@stradlinglaw.com

 14   Michael S Kogan on behalf of Creditor Michael Kogan Law Firm, APC
      mkogan@koganlawfirm.com
 15
      Kristen N Pate on behalf of Creditor Brookfield Properties Retail, Inc.
 16   ggpbk@ggp.com

 17   Lindsey L Smith on behalf of Debtor Escada America, LLC
      lls@lnbyg.com, lls@ecf.inforuptcy.com
 18
      Ronald M Tucker, Esq on behalf of Creditor SIMON PROPERTY GROUP INC
 19   rtucker@simon.com, cmartin@simon.com;psummers@simon.com;Bankruptcy@simon.com

 20   United States Trustee (LA)
      ustpregion16.la.ecf@usdoj.gov
 21

 22

 23

 24

 25

 26

 27

 28


                                                           33
